Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 1 of 24 PageID #: 138




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

     Plaintiff,
                                             CASE NO. 4:20-CV-00230
     v.
                                            JURY TRIAL DEMANDED
BLACKBAUD, INC.,

     Defendant.



          BLACKBAUD, INC.’S RULE 12(b)(6) MOTION TO DISMISS FOR
                      FAILURE TO STATE A CLAIM
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 2 of 24 PageID #: 139




                                                  TABLE OF CONTENTS

I.    INTRODUCTION ................................................................................................................. 1

II. STATEMENT OF THE ISSUES ......................................................................................... 2

III. LEGAL STANDARD ............................................................................................................ 4

       A. Legal Standard for Dismissal Pursuant to Rule 12(b)(6). .......................................... 4

             1. This Case Should Be Disposed of at the Pleading Stage Through
                Rule 12(b)(6). ............................................................................................................. 4

             2. The Law of 35 U.S.C. § 101. ..................................................................................... 5

IV. ARGUMENT ......................................................................................................................... 6

       A. The ’752 Patent is Invalid Under § 101. ....................................................................... 7

             1. Alice Step 1: Claim 1 of the ’752 Patent is directed to the abstract
                idea of data recognition and retrieval...................................................................... 7

             2. Alice Step 2: Claim 1 of the ’752 Patent contains no inventive concept
                sufficient to transform the abstract idea into patent-eligible matter. ................ 12

             3. The remaining claims fail both steps of the Alice test. ......................................... 15

       B. The Disproportionate Risk of Preemption Confirms that the Claims
          Are Abstract. ................................................................................................................ 17
V. CONCLUSION .................................................................................................................... 17




                                                                      i
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 3 of 24 PageID #: 140




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Aatrix Software, Inc. v. Green Shades Software, Inc.,
   882 F.3d 1121 (Fed. Cir. 2018)..................................................................................................1

Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
    134 S. Ct. 2347 (2014) ..................................................................................................... passim

Ancora Technologies, Inc. v. HTC America, Inc.,
   908 F.3d 1343 (Fed. Cir. 2018)..........................................................................................11, 12

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................4

Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
   687 F.3d 1266 (Fed. Cir. 2012)............................................................................................5, 15

Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018)................................................................................................14

Bilski v. Kappos,
    561 U.S. 593 (2010) .......................................................................................................4, 5, 6, 7

buySAFE, Inc. v. Google, Inc.,
   765 F.3d 1350 (Fed. Cir. 2014)................................................................................................15

Cellspin Soft, Inc. v. Fitbit, Inc.,
   927 F.3d 1306 (Fed. Cir. 2019)..................................................................................................1

Clear with Computers, LLC v. Dick’s Sporting Goods, Inc.,
   21 F. Supp. 3d 758 (E.D. Tex. 2014) .......................................................................................16

Cuvillier v. Sullivan,
   503 F.3d 397 (5th Cir. 2007) .....................................................................................................4

Cyberfone Sys., LLC v. CNN Interactive Grp., Inc.,
   558 F. App’x 988 (Fed. Cir. 2014) ..........................................................................................11

CyberSource Corp. v. Retail Decisions, Inc.,
   654 F.3d 1366 (Fed. Cir. 2011)..................................................................................................6

DDR Holdings, LLC v. Hotels.com, L.P.,
  773 F.3d 1245 (Fed. Cir. 2014)................................................................................................13



                                                                    ii
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 4 of 24 PageID #: 141




Diamond v. Chakrabarty,
   447 U.S. 303 (1980) ...................................................................................................................5

Diamond v. Diehr,
   450 U.S. 175 (1981) ...................................................................................................................6

Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016)................................................................................................13

Fort Props., Inc. v. Am. Master Lease LLC,
   671 F.3d 1317 (Fed. Cir. 2012)..................................................................................................6

Intellectual Ventures I LL v. Capital One Bank U.S.A.,
    792 F.3d 1363 (Fed. Cir. 2015)................................................................................................15

Internet Patents Corp. v. Active Network, Inc.,
    790 F.3d 1343 (Fed. Cir. 2015)................................................................................................12

Lovelace v. Software Spectrum,
   78 F.3d 1015 (5th Cir. 1996) .....................................................................................................4

Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,
   66 F. Supp. 3d 829 (E.D. Tex. 2014) .......................................................................................17

Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
  132 S. Ct. 1289 (2012) ...............................................................................................................6

Parker v. Flook,
   437 U.S. 584 (1978) ...................................................................................................................6

Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
   2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017) ......................................7

Recognicorp, LLC v. Nintendo Co., Ltd.,
   855 F.3d 1322 (Fed. Cir. 2017)......................................................................................9, 10, 14

SAP Am., Inc. v. InvestPic, LLC,
   898 F.3d 1161 (Fed. Cir. 2018)..................................................................................................7

Secured Mail Solutions LLC v. Universal Wilde, Inc.,
   873 F.3d 905 (Fed. Cir. 2017).......................................................................................... passim

In re TLI Commc’ns LLC Patent Litig.,
    823 F.3d 607 (Fed. Cir. 2016)..................................................................................................14

Ultramercial, Inc. v. Hulu, LLC,
    772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring)..............................................4, 8, 11, 12



                                                                    iii
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 5 of 24 PageID #: 142




Statutes

35 U.S.C. § 101 ...................................................................................................................... passim

Other Authorities

Rule 12(b)(6) of the Federal Rules of Civil Procedure ............................................................1, 4, 6




                                                                     iv
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 6 of 24 PageID #: 143




I.     INTRODUCTION

       Blackbaud requests that the Court dismiss this case because U.S. Patent No. 8,424,752

(the “’752 Patent”) does not embrace patent-eligible subject matter. The claims of the ’752

Patent are directed to the abstract idea of data recognition and retrieval, and none of the claims

recites any specific non-conventional hardware or software. In Secured Mail Solutions LLC v.

Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017), the Federal Circuit held claims

directed to decoding a QR code—like the claims at issue in this case—invalid under Alice, and

affirmed the district court’s grant of a motion to dismiss pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure. The claims of the ’752 Patent cannot be meaningfully distinguished

from the Secured Mail claims and are thus invalid for the same reasons.

       In its complaint, Symbology included allegations of inventiveness that allegedly

represent significant improvements in the art. See, e.g., Compl., ¶ 10. These allegations consist of

legal conclusions and characterizations of the claimed invention that are contradicted by the

patent’s specification. While pleadings may properly be considered for a Rule 12 motion to

dismiss (subject to the Twombly/Iqbal pleading standards), the pleadings cannot be used to alter

or rewrite the terms of a patent or to confer eligibility on otherwise ineligible subject matter. Cf

Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125 (Fed. Cir. 2018); see

also Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019). They are thus

irrelevant to the § 101 analysis.

       Resolving this issue does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating an invalid patent, Blackbaud thus

requests that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure for failure to state a claim upon which relief can be granted.



                                                  1
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 7 of 24 PageID #: 144




II.     STATEMENT OF THE ISSUES

        On March 20, 2020, Plaintiff Symbology filed this lawsuit accusing Blackbaud of

infringing the ’752 Patent. Symbology accuses Blackbaud of infringing “at least Claim 1” of the

’752 Patent by Blackbaud’s alleged using of a Quick Response Code (“QR code”) incorporated

into its membership cards. Compl., Ex. B, at 1.

        The ’752 Patent is entitled “System and Method for Presenting Information about an

Object on a Portable Electronic Device.” It is directed to “enabling a portable electronic device

to retrieve information about an object when the object’s symbology, e.g., a barcode, is

detected.” ’752 Pat., Abstract.

        Claim 1 of the ’752 Patent, set forth below, is representative of the claims:

                1. A method comprising:

                capturing a digital image using a digital image capturing device that is
                   part of a portable electronic device;

                detecting symbology associated with an object within the digital image
                    using a portable electronic device;

                decoding the symbology to obtain a decode string using one or more
                   visual detection applications residing on the portable electronic
                   device;

                sending the decode string to a remote server for processing;

                receiving information about the object from the remote server wherein
                    the information is based on the decode string of the object;

                displaying the information on a display device associated with the
                    portable electronic device.


’752 Pat., Cl. 1.

        Under Symbology’s characterization of the ’752 Patent, this claim can be broken down

into six main steps: (1) capturing an image with a camera or a scanner on a “portable electronic


                                                  2
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 8 of 24 PageID #: 145




device” (e.g., taking a photograph or scanning an image with a smartphone); (2) detecting a

symbology (e.g., recognizing a barcode in the captured image); (3) decoding the symbology to

obtain a “decode string” (e.g., reading information from the barcode); (4) sending the “decode

string” to a “server” for processing (e.g., requesting a webpage based on the information

obtained from the barcode); (5) receiving information from the “server” in response (e.g.,

receiving the contents of the webpage ); and (6) displaying the information received on the

portable electronic device (e.g., displaying a webpage). Put simply, these steps are directed to

recognizing and retrieving information associated with a pattern.

       The applicant made clear through his own language in the specification that the

components and processes for carrying out the claimed method were conventional. For example,

the claimed “portable electronic device” can be virtually any mobile device capable of taking a

photograph or scanning an image. Id., 1:58–61 (“Examples of the portable electronic devices that

contain both applications and imaging systems include Apple Computer’s IPhone, Google’s

Droid, and various mobile devices from Motorola”); id., 2:57–61 (“Using any applicable visual

detection device (e.g., a camera, scanner, or other device) on the portable electronic device, the

user may select an object by scanning or capturing an image of symbology (e.g., barcodes)

associated with the object.”). The applicant further acknowledged that various programs and

applications operable on a portable electronic device to scan and decode a barcode were

available in the prior art. Id., 3:29–33 (“Examples of applications that allow scanning include

Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy,

etc.”). According to the ’752 Patent, once a barcode is decoded (using any of these existing

applications), the “decode string” (i.e., the information obtained from the barcode) is then “sent”




                                                 3
 Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 9 of 24 PageID #: 146




to a “remote server” to retrieve information (e.g., webpage content) that is then displayed on the

portable electronic device. Id., 3:21–28.

III.   LEGAL STANDARD

           A. Legal Standard for Dismissal Pursuant to Rule 12(b)(6).

               1. This Case Should Be Disposed of at the Pleading Stage Through Rule
                  12(b)(6).

       Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a

complaint that fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6)

motion, a complaint “must provide the plaintiff’s grounds for entitlement to relief—including

factual allegations that when assumed to be true raise a right to relief above the speculative

level.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007) (internal citations and quotations

omitted). In deciding a Rule 12(b)(6) motion, courts consider documents attached to or

incorporated into the complaint as well as facts alleged in the complaint. Lovelace v. Software

Spectrum, 78 F.3d 1015, 1017 (5th Cir. 1996). Although factual allegations are taken as true,

legal conclusions are given no deference—those matters are left for the court to decide. See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting tenet that allegations are taken as true on a

motion to dismiss “is inapplicable to legal conclusions”). “[W]hen the allegations in a complaint,

however true, could not raise a claim of entitlement to relief [as a matter of law], this basic

deficiency should . . . be exposed at the point of minimum expenditure of time and money by the

parties and the court.” Cuvillier, 503 F.3d at 401 (internal citations and quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,


                                                  4
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 10 of 24 PageID #: 147




concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a

validity determination under § 101.”).

               2. The Law of 35 U.S.C. § 101.

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101.

Also, the law recognizes three exceptions to patent eligibility: “laws of nature, physical

phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis

added). Abstract ideas are ineligible for patent protection because a monopoly over these ideas

would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and technological

work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-

ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014).

Second, if the claim contains an abstract idea, the court evaluates whether there is “an ‘inventive

concept’—i.e., an element or combination of elements that is sufficient to ensure that the patent

in practice amounts to significantly more than a patent upon the ineligible concept itself.” Id.

(internal quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed



                                                  5
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 11 of 24 PageID #: 148




in the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource

Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not

meaningfully limited if it includes only token or insignificant pre- or post-solution activity—such

as identifying a relevant audience, category of use, field of use, or technological environment.

Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175,

191–92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply

appending conventional steps, specified at a high level of generality, to laws of nature, natural

phenomena, and abstract ideas cannot make those laws, phenomena, and ideas patentable.”

Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317,

1323 (Fed. Cir. 2012) (“Such a broad and general limitation does not impose meaningful limits

on the claim’s scope.”).

IV.    ARGUMENT

       Symbology’s Complaint should be dismissed. The claims of the ’752 Patent are invalid

under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of the claims is

directed to the abstract idea of data recognition and retrieval. Abstract ideas are not eligible for

patenting. None of the claims contains an “‘inventive concept’ . . . sufficient to ensure that the

patent in practice amounts to significantly more than a patent upon the ineligible concept itself.”

See Alice, 134 S. Ct. at 2355 (emphasis added). Because Symbology has failed to state a claim

upon which relief may be granted, Blackbaud respectfully requests that the Court grant its

motion and dismiss this case with prejudice. Fed. R. Civ. P. 12(b)(6).




                                                  6
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 12 of 24 PageID #: 149
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 13 of 24 PageID #: 150




 decoding the symbology to obtain a decode string using one                   decoding data
    or more visual detection applications residing on the
    portable electronic device;
 sending the decode string to a remote server for processing;                 sending data

 receiving information about the object from the remote                       receiving data
     server wherein the information is based on the decode
     string of the object;
 displaying the information on a display device associated                    displaying data
     with the portable electronic device.


        At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data). Such a

broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the claim purports to

implement the steps with conventional components like a “portable electronic device,” a “remote

server,” a “display device,” and generic “visual detection applications” does not make it any less

abstract.

        The specification admits that barcode scanning and decoding programs were prevalent at

the time of the invention. ’752 Pat., 3:29–36. Indeed, the claims implement this prior-art

technology to carry out the steps of capturing, detecting, decoding, and retrieving information

from a server. Claim 1 of the ’752 Patent does no more than use existing technology to recognize

an image, decode the image, then do something based upon the decoded information. It is thus

directed to the abstract idea of data recognition and retrieval.

        Courts have found similar patent claims to be ineligible. In Content Extraction, the

claims generally recited “a method of 1) extracting data from hard copy documents using an

automated digitizing unit such as a scanner, 2) recognizing specific information from the

extracted data, and 3) storing that information in a memory.” Content Extraction, 776 F.3d at



                                                  8
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 14 of 24 PageID #: 151




1345. The claimed method “could be performed by software on an automated teller machine

(ATM) that recognizes information written on a scanned check, such as the check’s amount, and

populates certain data fields with that information in a computer’s memory.” Id. The Federal

Circuit concluded in Alice’s first step that the claims were “drawn to the abstract idea of 1)

collecting data, 2) recognizing certain data within the collected data set, and 3) storing that

recognized data in a memory”; or, put simply: “data recognition and storage.” Id. at 1347. In

rejecting the plaintiff’s argument that the claims were not abstract because they required the use

of a scanner, the Federal Circuit likened the claims to those found abstract in Alice, which “also

required a computer that processed streams of bits.” Id. Like the Content Extraction claims,

Claim 1 of the ’752 Patent is abstract because it simply decodes an image to obtain information

and then retrieves data from a server based on that information. The claims in Content Extraction

were directed to data recognition and storage, whereas the ’752 Patent is directed to data

recognition and retrieval—the former claims stored the recognized data, while the latter claims

retrieve additional data based on the recognized data.

       In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

Circuit found the patent claim at issue to be directed toward the abstract idea of “encoding and

decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in Recognicorp recited:

       A method for creating a composite image, comprising:

       displaying facial feature images on a first area of a first display via a first device
           associated with the first display, wherein the facial feature images are
           associated with facial feature element codes;

       selecting a facial feature image from the first area of the first display via a user
           interface associated with the first device;

       wherein the first device incorporates the selected facial feature image into a
          composite image on a second area of the first display, wherein the composite
          image is associated with a composite facial image code having at least a


                                                  9
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 15 of 24 PageID #: 152




           facial feature element code and wherein the composite facial image code is
           derived by performing at least one multiplication operation on a facial code
           using one or more code factors as input parameters to the multiplication
           operation; and

       reproducing the composite image on a second display based on the composite
           facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a

first display, assigns image codes to the images through an interface using a mathematical

formula, and then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit

found that this method reflected “standard encoding and decoding.” Id.

       The Federal Circuit then explained that encoding and decoding data is “an abstract

concept long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v. Capital

One Fin. Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and

manipulating data encoded for human- and machine-readability is directed to an abstract

concept)). The court provided several examples of long-utilized methods of encoding and

decoding of data to transmit information: “Morse code, ordering food at a fast food restaurant via

a numbering system, and Paul Revere’s ‘one if by land, two if by sea’ signaling system all

exemplify encoding at one end and decoding at the other end.” Id. Claim 1 of the ’752 Patent

likewise simply decodes an image to obtain information, an abstract concept.

       Additionally, in Secured Mail, the Federal Circuit found claims directed to encoding and

decoding a bar code invalid under both Alice steps. Secured Mail, 873 F.3d at 907. The Secured

Mail claims “provide[d] a method whereby a barcode is generated, affixed to a mail object, and

sent through the mail system [and t]hen, upon receipt, the barcode is scanned, and data

corresponding to the sender is sent to the recipient over the network and displayed on the

recipient’s device.” Id. at 910–11. The Federal Circuit found that “each step of the process is



                                                10
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 16 of 24 PageID #: 153




directed to the abstract process of communicating information about a mail object using a

personalized marking.” Id. at 911. And because the claims were “non-specific and lack[ed]

technical detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit

concluded that the claims lacked an inventive concept. Id. at 912.

       The idea underlying Claim 1 of the ’752 Patent is just as abstract as those of the Content

Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does not include

any specific limitations or steps regarding extracting data or decoding the data. Rather, all of the

steps required to carry out the method are directed to the generic, conventional ideas of

recognizing an image, decoding the image, and then doing something based upon the decoded

information. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed.

Cir. 2014) (finding claim directed to “the well-known concept of categorical data storage, i.e.,

the idea of collecting information in classified form, then separating and transmitting that

information according to its classification, is an abstract idea that is not patent-eligible”). That

Claim 1 of the ’752 Patent sends and receives the decoded information over a network does not

make it any less abstract. See, e.g., Ultramercial, 772 F.3d at 716 (noting that “the use of the

Internet is not sufficient to save otherwise abstract claims from ineligibility under § 101”)

(citation omitted).

       Claim 1 thus differs from the claims that the Federal Circuit has held to be eligible

because they claimed specific means for improving specific computer technology or solving

specific computer problems. For example, the Federal Circuit addressed the eligibility of claims

directed to improving computer security in Ancora Technologies, Inc. v. HTC America, Inc., 908

F.3d 1343 (Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated,

“Improving security—here, against a computer’s unauthorized use of a program—can be a non-



                                                  11
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 17 of 24 PageID #: 154




abstract computer-functionality improvement . . . done by a specific technique that departs from

earlier approaches to solve a specific computer problem.” Id. at 1348 (emphasis added). The

court was persuaded because “[t]he claimed method here specifically identifies how that

functionality improvement is effectuated in an assertedly unexpected way.” Id. The same is not

true of Claim 1 of the ’752 Patent. It does not require a specific and unconventional technique,

and it does not identify any specific improvement to computer functionality, much less an

unexpected way of effectuating such an improvement.

        By only claiming the desired result—recognizing and retrieving information associated

with a pattern like a barcode—without describing any specific roadmap for doing so, Claim 1 of

the ’752 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail, 873 F.3d at

910–11.

                2. Alice Step 2: Claim 1 of the ’752 Patent contains no inventive concept
                   sufficient to transform the abstract idea into patent-eligible matter.

        Because Claim 1 of the ’752 Patent is directed to an abstract idea, the Court must next

determine whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To

pass this test, Claim 1 of the ’752 Patent “must include additional features” that “must be more

than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation

omitted). Here, Claim 1 of the ’752 Patent is broadly generic and does not contain meaningful

limitations that would restrict it to a non-routine, specific application of the abstract idea.

        Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high level of

generality as “capturing a digital image,” “detecting” a barcode, “decoding [the barcode] . . . to

obtain a decode string,” “sending the decode string to a remote server for processing,” “receiving


                                                  12
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 18 of 24 PageID #: 155




information . . . from the remote server,” and “displaying the information.” To accomplish these

steps, Claim 1 of the ’752 Patent recites the use of a “portable electronic device,” “visual

detection applications,” and a “remote server.” But the claimed “portable electronic device” can

be virtually any device capable of taking a photograph (’752 Pat., 1:58–61), the “visual detection

applications” can be a variety of off-the-shelf applications that users have installed on their

smartphones (id., 3:29–33), and the claimed “server” is implemented using generic hardware

(id., 9:65–10:1) to perform generic website functions (id., 5:33–42).

       The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

disclosing an “improved, particularized method of digital data compression,” DDR Holdings,

LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a

computer stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

1339 (Fed. Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from

others that “simply add[ed] conventional computer components to well-known business

practices,” id. at 1338, holding instead that “they [we]re directed to a specific improvement to

the way computers operate,” id. at 1336. In particular, the unconventional structure of the

database resulted in “increased flexibility, faster search times, and smaller memory

requirements.” Id. at 1337. Unlike Enfish, nothing in Claim 1 of the ’752 Patent shows any

unconventional method that would amount to a “specific improvement to the way computers

operate.” Therefore, the focus of the ’752 Patent is not “on [a] specific asserted improvement in

computer capabilities” but instead “on a process that qualifies as an ‘abstract idea’ for which

computers are invoked merely as a tool.” Id. at 1336.




                                                 13
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 19 of 24 PageID #: 156




       There is simply nothing “inventive” about using a known process (i.e., decoding a

barcode) to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract

functional descriptions in Claim 1 of the ’752 Patent are devoid of any technical explanation as

to how to implement the purported invention in an inventive way. See In re TLI Commc’ns LLC

Patent Litig., 823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification

limited its discussion of “additional functionality” of conventional components “to abstract

functional descriptions devoid of technical explanation as to how to implement the invention”).

Similar to the invalidated claim in Recognicorp, nothing in Claim 1 of the ’752 Patent

“‘transforms’ the abstract idea of . . . decoding,” i.e., recognizing information, “into patent-

eligible subject matter.” Recognicorp, 855 F.3d at 1328 (citing Alice, 134 S. Ct. at 2357).

       Unlike the Federal Circuit’s decision in Berkheimer, this case does not present any

factual disputes requiring resolution before the Court can decide this § 101 issue. In Berkheimer,

the Federal Circuit noted that the specification explicitly “describe[d] an inventive feature that

store[d] parsed data in a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d

1360, 1369 (Fed. Cir. 2018). The Federal Circuit then examined whether the improvements

described in the specification were included in the claims. For those claims where the inventive

feature in the specification was “captured in the claims,” the Federal Circuit found a “factual

dispute regarding whether the invention describe[d] well-understood, routine, and conventional

activities.” Id. But where the claims did not recite the purportedly inventive features described in

the specification, the Federal Circuit concluded that they were directed to patent ineligible

subject matter under § 101. Id. Here, in contrast, there is no need for fact discovery at all because

neither the claims nor the specification of the patent describes any unconventional components




                                                 14
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 20 of 24 PageID #: 157




or the use of generic components in some unconventional manner, and no amount of fact

discovery can change that.

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract idea patent-

eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a

computer receives and sends the information over a network—with no further specification—is

not even arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most, [the] claims

attempt to limit the abstract idea of recognizing and storing information from hard copy

documents using a scanner and a computer to a particular technological environment. Such a

limitation has been held insufficient to save a claim in this context.”); Bancorp, 687 F.3d at

1276–77. In addition, an “abstract idea does not become nonabstract by limiting the invention to

a particular field of use or technological environment, such as [mobile services].” Intellectual

Ventures I LL v. Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       Because Claim 1 is altogether devoid of any “inventive concept,” it is patent-ineligible

under § 101. See Alice, 134 S. Ct. at 2359–60.

               3. The remaining claims fail both steps of the Alice test.

       The remaining claims of the ’752 Patent relate to the same abstract concept of data

recognition and retrieval. Specifically, each of the other independent claims refers only to

standard computing means for decoding data. For example, the claims describe a “computer

application” comprising “logic” (’752 Pat., Cl. 17), or a “symbology management application”

(id., Cl. 24), to perform each of the steps in Claim 1 of the ’752 Patent.

       Some of the dependent claims recite limitations for: (1) running visual detection

applications in the background (id., Cl. 4); (2) configuring visual detection applications to



                                                 15
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 21 of 24 PageID #: 158
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 22 of 24 PageID #: 159




           B. The Disproportionate Risk of Preemption Confirms that the Claims Are
              Abstract.

       Because the claimed methods and systems can be implemented using virtually any device

capable of taking a photograph, any off-the-shelf scanning/decoding application, and any

conventional server capable of sending and receiving information, the ’752 Patent risks

preempting all automated methods or systems for recognizing a pattern, like a barcode, and

retrieving data based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F.

Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims

[were] largely functional in nature, they [did] not provide any significant description of the

particular means by which the various recited functions are performed,” and “[a]ll that [was]

disclosed [was] the ultimate objective”). Therefore, the claims implicate the same preemption

concern undergirding the § 101 analysis and should be found ineligible.

V.     CONCLUSION

       For the foregoing reasons, Blackbaud respectfully requests that the Court dismiss

Symbology’s Complaint for failure to state a claim upon which relief can be granted. Because

leave to amend would be futile, Blackbaud requests dismissal with prejudice.




                                                 17
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 23 of 24 PageID #: 160




Dated: April 23, 2020             Respectfully submitted,

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                                     18
Case 4:20-cv-00230-SDJ Document 8 Filed 04/23/20 Page 24 of 24 PageID #: 161




                                 CERTIFICATE OF SERVICE


        I hereby certify that all counsel of record who have consented to electronic service

 are being served with a copy of this document via the Court’s CM/ECF system per Local

 Rule CV-5(a)(3) on April 23, 2020.


                                                   /s/ Neil J. McNabnay
                                                   Neil J. McNabnay




                                              19
